                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



ENTROPIC COMMUNICATIONS, LLC,

          Plaintiff,
                                              Case No. 2:22-cv-00125-JRG
     v.
                                              JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.,

          Defendant.


    PLAINTIFF ENTROPIC COMMUNICATIONS, LLC’S OPPOSITION TO
     DEFENDANT CHARTER COMMUNICATIONS, INC.’S MOTION FOR
        SUMMARY JUDGMENT OF NON-INFRINGEMENT OF THE
          ASSERTED CLAIMS OF THE ’682 AND ’690 PATENTS
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Exhibit   Title
  A       Excerpt of COMM00010008-COMM00011301 - E6000 User Guide
  B       July 21, 2023 Expert Report of Dr. Shurki Souri re Infringement
  C       Excerpt of CHARTER_ENTROPIC00101872-CHARTER_ENTROPIC00102673
          - DOCSIS 3.1 MAC and Upper Layer Protocols Interface Specification
  D       CHARTER ENTROPIC00290917- CHARTER_ENTROPIC00290931 -
                                                      documents by Roger Stafford,
          Principal Architect, Charter Communications Inc.
  E       August 29, 2023 Supplemental Report of Dr. Shukri Souri
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I.     INTRODUCTION

       Plaintiff Entropic Communications, LLC (“Entropic”) submits this response in opposition

to Defendant Charter Communications, Inc.’s (“Charter”) Motion for Summary Judgment of Non-

Infringement of the Asserted Claims of U.S. Patent No. 10,135,682 (the “’682 Patent”) and U.S.

Patent No. 8,284,690 (the “’690 Patent”) (the “Motion”). See Dkt. 176. The primary thrust of

Charter’s motion revolves around a cable modem termination system or CMTS. The method

claims at issue require steps performed by a CMTS. Charter never sought claim construction of

“CMTS.” But now Charter moves for summary judgment based on precisely that—a very narrow

claim construction of CMTS restricting the CMTS to being a single “box” or piece of hardware.

Charter does not come clean about the nature of its motion, dressing it up as merely a conclusion

based on allegedly undisputed facts. But the true nature of the argument is claim construction.

       The inescapable problem for Charter is that the plain meaning of CMTS is not so restricted.

Indeed the specification of the ’682 Patent itself notes the CMTSs using the invention are not

restricted to particular hardware:

       [T]he present invention may be realized in hardware, software, or a combination
       of hardware and software. The present invention may be realized in a centralized
       fashion in at least one computing system, or in a distributed fashion where
       different elements are spread across several interconnected computing systems.
       Any kind of computing system or other apparatus adapted for carrying out the
       methods described herein is suited.

’682 Patent, 7:31-38 (emphasis added). Thus, Charter’s entire argument falls apart. Whether or not

Charter’s infringing CMTSs are embodied in one or more than one piece of hardware, or one or

more than one pieces of software, does not wipe away the infringement. The evidence offered by

Plaintiff’s expert Dr. Souri is extensive on this point. See infra Entropic’s Response to Charter’s

Statement of Facts.

       Charter attempts to recast its argument for a narrowing claim construction as merely



                                                1
facts—allegedly undisputed facts, at that. But the “facts” are anything but undisputed. Charter

cannot meet its burden because of the multitude of material facts that are still hotly disputed and

should be decided by the trier of fact.

II.    RESPONSE TO STATEMENT OF ISSUES TO BE DECIDED BY THE COURT

       To the extent Charter’s statement of issues is not commensurate with the relief requested

by the Motion, Entropic opposes all relief requested by the Motion regardless of whether Charter

has identified such relief in its statement of issues. Entropic further responds to Charter’s statement

of issues as follows:

       1.      The Court should deny Charter’s request for summary judgment of non-

infringement with respect to claims 1–3 of the ’682 Patent.

       2.      The Court should deny Charter’s request for summary judgment of non-

infringement with respect to claims 7 and 8 of the ’690 Patent.

       Additionally, the relief sought in Charter’s Motion relating to issue number 2 differs

significantly from Charter’s statement of issues to be decided by the Court. Although Charter’s

statement of issues asks the Court “[w]hether the Court should grant summary judgment of non-

infringement with respect to claims 7 and 8” of the ’690 Patent, Charter’s actual argument relates

to Charter’s use (or alleged lack thereof) of

as it relates to the receiver-determined probes that are claimed by the ’690 Patent. Compare Motion

at I.2 with Motion at IV.B. This is a significantly narrower issue than infringement of the ’690

Patent generally.

III.   RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL FACTS (“SUF”)

       The Motion includes a “Statement of Undisputed Material Facts” (“SUF”) numbered 1




                                                  2
through 16. See Motion at 1–4. Entropic responds to Charter’s SUF as follows:1

       1.      Entropic agrees that it accuses Charter of infringing claims 1–3 of the ’682 Patent.

       2.      Entropic agrees that it accuses Charter of infringing claims 7–8 of the ’690 Patent.

       3.      Entropic agrees that it has not asserted infringement under the doctrine of

equivalents as to the Asserted Claims of the ’682 and ’690 Patents; however, Entropic notes that

Charter’s SUF 3 is phrased more broadly and therefore disagrees to the extent Charter’s SUF 3 is

interpreted more broadly than Entropic agrees to above.

       4.      Entropic agrees that the steps of claim 1 of the ’682 Patent must be performed “by

a cable modem termination system (“CMTS”) and “by said CMTS.”

       5.      Entropic agrees that it has accused                               of infringing the

Asserted Claims of the ’682 Patent.

       6.      SUF 6 is disputed in part. Entropic agrees that only certain




       7.      SUF 7 is not undisputed. Entropic disagrees that the

                                          as described in SUF 7. See Ex. B, Expert Report of Dr.

Souri re Infringement (“Souri Infring. Rep.”) ¶ 321:



                                           Charter’s SUF 7 describing




1
    The numbering of Entropic’s responses to Charter’s SUF tracks the numbering of the SUF in
    the Motion.


                                                 3
                                                                                      See Ex. C,

CHARTER_ENTROPIC00101872 at CHARTER_ENTROPIC00101891

                                                  Furthermore, Entropic disagrees with SUF 7 to

the extent Charter attempts to generalize the                              generally, which it has

not offered sufficient support to show.

       8.      SUF 8 is not undisputed. Entropic disagrees with SUF 8 to the extent that Charter

refers to the CMTS system as a whole, which would include various software and servers that the

physical hardware needs for operation on an HFC network that may not be located at the headend.

See Ex. C, CHARTER_ENTROPIC00101872 at CHARTER_ENTROPIC00101891. Entropic

agrees that some portion of the physical hardware component of the

                       which is significantly different from Charter’s SUF 8. However, the CMTS

may be embodied and executed in different devices or servers (as described in the DOCSIS

standards and in the ’682 patent itself), and thus Entropic generally disagrees with Charter’s SUF

8. See e.g. Ex. B, Souri Infring. Rep. ¶¶ 321, 345.

       9.      SUF 9 is not undisputed. Entropic disagrees with SUF 9 that the




                                                 4
headend itself. See supra SUF 6–11. As for the particulars alleged in SUF 12, Entropic agrees that




                  see also Ex. B, Souri Infring. Rep. ¶¶ 343–351. Second, the

                                                                                . See Ex. D,

CHARTER_ENTROPIC00290917 at CHARTER_ENTROPIC00290920




        ) (emphasis added).

       13.     SUF 13 is not undisputed. Charter has neither produced nor proffered sufficient

evidence to show the exact number of

       14.     SUF 14 is not undisputed. Charter has neither produced nor proffered sufficient

evidence to show the exact number of

       15.     SUF 15 is not undisputed. Charter has proffered no evidence other than an

interrogatory response regarding the

                    See Motion at SUF 15. Furthermore, Charter has failed to provide discovery

or evidence comprising any substantive information apart from its single interrogatory response




                                                6
two-fold: (1) there is no genuine dispute of material fact; and (2) the movant is entitled to judgment

as a matter of law. Fed. R. Civ. P. 56(a).

       “Summary judgment of non-infringement requires a two-step analytical approach. First,

the claims of the patent must be construed to determine their scope. Second, a determination must

be made as to whether the properly construed claims read on the accused device.” Pitney Bowes,

Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1304 (Fed. Cir. 1999) (internal citations omitted).

The “step two” determinations are questions of fact, and on summary judgment, the issue is

whether there is no genuine issue of material fact regarding non-infringement. See id. As such,

“summary judgment of non-infringement can only be granted if, after viewing the alleged facts in

the light most favorable to the non-movant, there is no genuine issue whether the accused device

is encompassed by the claims.” Id.

V.     ARGUMENT

       A.      There is a Genuine Dispute of Material Fact Regarding Whether Charter’s
                                      Infringed the Asserted Claims of the ’682 Patent

       Charter’s use of                                                           , infringes the ’682

Patent. Nonetheless, at a minimum there are several genuine disputes of material facts regarding

whether Charter infringes the ’682 Patent that preclude a grant of summary judgment.

               1.      The Motion should be denied because there is a genuine dispute of
                       material fact regarding whether Charter’s
                       performs the required steps of the ’682 Patent “by a CMTS”

       Charter’s argument that the “steps [of claim 1 of the ’682 Patent] are not performed by a

cable modem termination system (CMTS)” relies on an unstated, never-before-disclosed, and

erroneous narrowing construction of the claims. At most, Charter’s motion identifies factual

disputes and disagreements as to whether

Because that is an issue for the jury, not for summary judgment, Charter’s motion should be denied.



                                                  8
       Claim 1 of the ’682 Patent recites a novel way for a CMTS to determine a metric about the

channel connecting it to certain cable modems, and use that metric to group the modems so it can

efficiently communicate with them. See ’682 Patent, cl. 1; see also Ex. B, Souri Infring. Rpt.

¶¶ 309–311. As Entropic’s expert, Dr. Shukri Souri, explained, Charter implements claim 1

through                                                                        Ex. B, Souri Infring.

Rpt. ¶¶ 336–399. As with many modern computing systems, the Charter

                                                    See id. ¶¶ 345–350. Rather,



                                                             . See, e.g., id. ¶ 334.




                                                 E.g., id. ¶¶ 345, 348, 350.

       Charter’s non-infringement argument depends on construing “CMTS” to refer to the single

physical box that is located at the cable headend—and nothing more. In other words, Charter’s

motion draws a boundary around the

          The only reason that—in Charter’s view—



       But Charter’s belated attempt at claim construction fail. The Court has never construed the

term “CMTS” as Charter proposes. And the ’682 Patent itself makes clear that the plain meaning

of CMTS is not restricted as Charter desires. Indeed, the specification notes that the enhanced

CMTSs of the invention can be implemented “in a distributed fashion where different elements

are spread across several interconnected computing systems”—just as Charter does:

       [T]he present invention may be realized in hardware, software, or a combination
       of hardware and software. The present invention may be realized in a centralized



                                                9
       fashion in at least one computing system, or in a distributed fashion where
       different elements are spread across several interconnected computing systems.

’682 Patent, 7:31-36 (emphasis added). Accordingly, the claim construction argument—improper

at this stage anyway—fails. With it goes the basis for Charter’s entire Motion.

       Even if Charter’s argument were not inconsistent with the plain meaning of “CMTS,” its

motion should still be denied because there is a factual dispute as to whether




       Indeed, Entropic’s evidence shows that the “distributed” architecture that Charter used to




                                                10
                        See generally Ex. B, Souri Infring. Rep. ¶¶ 309–410; see also ’682 Patent,

cl. 1. This is more than enough for a jury to conclude that the steps taken by the



       None of Charter’s arguments change this basic fact. Charter argues for several paragraphs

about what constitutes a CMTS and claims that the CMTS (which Charter reduces to merely the



                                                                               See Motion at IV.A.1,

SUF 10. But the only “evidence” it cites that a                                            is its own

interpretation of a figure in Dr. Suori’s report and an unexplained reference to a single document.

See Charter SUF 10. And its only basis for arguing that it is “undisputed” that




                                                                                                  . B,

Suori Infring. Rep. ¶¶ 349–350.

       Thus, at most, Charter’s Motion presents the Court with conflicting evidence about whether

                                                   . This is a factual dispute that the jury needs to

resolve, which means summary judgment should be denied. See, e.g., Kennett-Murray Corp. v.

Bone, 622 F.2d 887, 892 (5th Cir. 1980) (“the district court must not resolve factual disputes by

weighing conflicting evidence . . . since it is the province of the jury to assess the probative value




                                                 11
of the evidence” (internal citation omitted)); MacDonald v. Monsanto, 68 F.3d 470 (5th Cir. 1995).

                 2.    There is a genuine dispute of material fact regarding whether Charter
                                          “for each cable modem served by said CMTS”

        Charter also argues that its



                       ” See Motion at IV.A.2. Charter’s argument either presents another new,

unsupported, and narrowing claim construction or simply a “battle-of-the-experts” dispute

regarding the evidence which is properly a jury issue for trial.

        Claim 1 of the ’682 Patent requires “determining . . . for each cable modem served by [the]

CMTS, a corresponding signal-to-noise ratio (SNR) related metric.” ’682 Patent, cl. 1. It then

requires “assigning, by [the] CMTS, each cable modem” to a group, selecting parameters to

communicate with that group, and “communicating . . . with one or more cable modems

corresponding to” the group. Id. The claim thus recites a specific series of steps that describe what

functionality the cable modem must be “served” with in order to meet the claim.

        Charter’s argument seems to be predicated on a new construction of “served” by the CMTS

that is divorced from this language. As set forth supra at V.A.1, Charter improperly construes

“CMTS” as limited to a single physical box. Building on this erroneous construction, Charter now

appears to argue that a cable modem “served by the CMTS” means “any modem connected to the

physical box,” regardless of whether it is “served” any particular functionality. See Motion at

IV.A.2. Charter provides no support for this argument, and for good reason: it is absurd. Under

Charter’s position, it can perform all steps of the claimed method on every cable modem within

the set that a




                                                 12
circumvented. Charter points to no evidence—and none exists—that the patentee intended this

result or that a POSITA would read the claims that way. The more logical reading is that, for

whatever modems are “served” with the claimed method, every one will have an SNR-related

metric determined (first element) and be sorted into a group based on it (second element). “Each”

means that the method operates on a per-modem basis and no cable modem being served with the

method falls through the cracks.

         In any case, Charter’s argument presents a simple conflict in the evidence to be resolved at

trial and not grounds for summary judgment. As set forth supra at V.A.1, Entropic has presented

evidence, including expert testimony, that Charter’s



                    See supra at id. It is this CMTS that must infringe, and Entropic has offered

evidence that it does. For instance, Dr. Souri opined that the step of calculating an SNR-related

metric

                            . See Ex. B, Suori Infring. Rpt. ¶ 357




         B.     Charter’s Motion as to                Misses the Point—the Fact There
                May Not Be More Infringement Than There Is, Does Not Create an Issue For
                Summary Judgment

         Charter argues that it does not use                    and thus it cannot be liable because


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claims 1–3 of the ’682 Patent are method claims. Charter appears to ask the Court to declare that

any act of using, that does not yet exist, is not an act of infringement. Entropic agrees with that

principle of law. However, the question is what precisely does Charter ask the Court to rule on?

        The infringement of the ’682 Patent is the use of




        Charter has

                             See generally Ex. B, Souri Infring. Rep. ¶¶ 352–399. The evidence

produced to date indicates that Charter has not yet

                   see id.; see also Ex. E, Supplemental Report of Dr. Souri. ¶¶ 16–27. Thus the

only question implicated here is the extent of the infringement. As to the extent of infringement,

there is as much infringement as the evidence shows. Charter asks for summary judgment that

there is not more infringement by          if the evidence does not show it. See Motion at IV.B. If

that is all the motion requests, Entropic cannot and does not contest that basic principle.

        However, in Charter’s motion to strike portions of Dr. Souri’s testimony, Charter

mischaracterizes using                                                   as “a new, independent

infringement theory.” See Dkt. 166 at 2. That is incorrect, as explained in Entropic’s opposition to

that motion, co-filed with this opposition. See Dkt. 205 at 1–4, 5–6. The infringement theory is the

same. It is all

        With the above understanding, Entropic does not oppose the principle that acts of

infringement that have not occurred are not acts of infringement. That is indeed the law. It remains




                                                 14
unclear how this is summary judgment material, any more than it would make sense to grant

“summary judgment” that a defendant who has sold 1,000 infringing products is not infringing for

5,000 (or 500,000) more hypothetical sales that have not yet occurred.

        C.      Charter’s Motion Regarding the ’690 Patent Similarly Asks For a Holding
                That Non-Existent Acts Are Not Acts of Infringement

        Charter also argues that because Entropic’s expert cited the ’690 Patent as helpful to the

                                      it is entitled to summary judgment of non-infringement of the

’690 Patent                                     See Motion at IV.B. The receiver-determined probes

of the ’690 Patent can be put to many uses, one of which is supplying data to the CMTS that is

helpful to grouping cable modems in            . Dr. Souri discussed that issue. See generally Ex. B,

Souri Infring. Rep. ¶¶ 352–399.

        Once again Charter seems to ask for summary judgment that any acts that have not occurred

are not acts of infringement. If that is all that is at issue, there seems little to contest. However, as

noted above, this is a significantly narrower issue than suggested by Charter’s statement of issues

in the opening section of its Motion. See supra at II (Entropic’s response to Charter’s Statement

of Issues). Assuming the statement of issues is mistaken and Charter moves only for the tautology

that non-existent acts are not acts of infringement, there is no debate. It remains unclear how that

this is something for which summary judgment is appropriate, but the core issue is not in dispute.

Entropic cannot prove at trial acts that do not exist.

VI.     CONCLUSION

        For the reasons discussed above, there are several genuine factual disputes that preclude a

determination as a matter of law the issue of infringement as to the ’682 and ’690 Patents, and

therefore Charter’s Motion should be denied in full.




                                                   15
Dated: September 25, 2023        Respectfully submitted,

                                 /s/ James Shimota
                                 James Shimota
                                 Jason Engel
                                 George Summerfield
                                 Katherine Allor
                                 K&L GATES LLP
                                 70 W. Madison Street, Suite 3300
                                 Chicago, IL 60602
                                 Jim.shimota@klgates.com
                                 Jason.engel@klgates.com
                                 George.summerfield@klgates.com
                                 Katy.allor@klgates.com

                                 Nicholas F. Lenning
                                 K&L GATES LLP
                                 925 Fourth Avenue, Suite 2900
                                 Seattle, WA 98104-1158
                                 nicholas.lenning@klgates.com

                                 Darlene Ghavimi
                                 Matthew Blair
                                 K&L GATES LLP
                                 2801 Via Fortuna
                                 Suite #650
                                 Austin, Texas 78746
                                 Darlene.ghavimi@klgates.com
                                 xMatthew.blair@klgates.com

                                 Wesley Hill
                                 Texas Bar No. 24032294
                                 Andrea Fair
                                 Texas Bar No. 24078488
                                 WARD, SMITH & HILL, PLLC
                                 1507 Bill Owens Pkwy
                                 Longview, TX 75604
                                 Tel: (903) 757-6400
                                 wh@wsfirm.com
                                 andrea@wsfirm.com

                                 ATTORNEYS FOR PLAINTIFF
                                 ENTROPIC COMMUNICATIONS, LLC




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